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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

                       Case No.: 1:19-cv-2457-MHC-JFK

LEWIS LAKE,

     Plaintiff,

v.

HAYT, HAYT & LANDAU, P.L., A
PROFESSIONAL LIMITED
LIABILITY COMPANY (LLC),
and ELTMAN LAW, P.C.,

  Defendants.
___________________________________/

     DEFENDANT HAYT, HAYT & LANDAU, P.L.’S AMENDED INITIAL
                        DISCLOSURES

        COMES NOW Defendant, HAYT, HAYT & LANDAU, P.L. ("Defendant"),

by and through its undersigned counsel, without waiving any claim of privilege,

work product, or other basis for non-disclosure, and based on information presently

available, hereby makes the following initial disclosures pursuant to Rule 26(a)(1)

of the Federal Rules of Civil Procedure. Defendant reserves the right to supplement

its disclosures as provided by the Federal Rules of Civil Procedure and the Local

Rules of this Court.



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         (1)   If the defendant is improperly identified, state defendant's correct

identification and state whether defendant will accept service of an amended

summons and complaint reflecting the information furnished in this disclosure

response.

         Defendant is properly identified.

         (2)   Provide the names of any parties whom defendant contends are

necessary parties to this action, but who have not been named by plaintiff. If

defendant contends that there is a question of misjoinder of parties, provide the

reasons for defendant's contention.

         Defendant knows of no such parties at this time.

         (3)   Provide a detailed factual basis for the defense or defenses and any

counterclaims or crossclaims asserted by defendant in the responsive pleading.

         Defendant contends that it did not commit any violation of the FDCPA.

Alternatively, Defendant asserts that any violation was a bona fide error that

occurred despite the maintenance of procedures reasonably tailored to avoid such

error.

         (4)   Describe in detail all statutes, codes, regulations, legal principles,

standards and customs or usages, and illustrative case law which defendant

contends are applicable to this action.


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      Defendant contends that the FDCPA along with case law interpreting the

same, are relevant to this case.

      Defendant provides the following as an initial list of legal authorities that may

be applicable to this action:

      15 U.S.C. §§ 1692, et seq.

      Defendant reserves the right to add additional statutes, codes, regulations,

legal principles, standards, customs or usages, and illustrative case law as discovery

continues in this case.

      (5)    Provide the name and, if known, the address and telephone number

of each individual likely to have discoverable information that you may use to

support your claims or defenses, unless solely for impeachment, identifying the

subjects of the information. (Attach witness list to Initial Disclosures as

Attachment A.)

      See Attachment A.

      (6)    Provide the name of any person who may be used at trial to present

evidence under Rules 702, 703, or 705 of the Federal Rules of Evidence. For all

experts described in Fed. R. Civ. P. 26(a)(2)(B), provide a separate written

report satisfying the provisions of that rule. (Attach expert witness list and

written reports to Initial Disclosure as Attachment B.)


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      Defendant has not identified an expert at this point. Defendant will

supplement this disclosure in accordance with the Federal Rules of Civil Procedure,

the Local Rules, and other applicable law, if necessary.

      (7)    Provide a copy of, or description by category and location of, all

documents, data compilations or other electronically stored information, and

tangible things in your possession, custody, or control that you may use to

support your claims or defenses unless solely for impeachment, identifying the

subjects of the information. (Attach document list and descriptions to Initial

Disclosures as Attachment C.)

      See Attachment C.

      (8)    In the space provided below, provide a computation of any

category or damages claimed by you. In addition, include a copy of, or describe

by category and location of, the documents or other evidentiary material, not

privileged or protected from disclosure on which such computation is based,

including materials bearing on the nature and extent of injuries suffered,

making such documents or evidentiary material available for inspection and

copying under Fed. R. Civ. P. 34. (Attach any copies and descriptions to Initial

Disclosures as Attachment D.)




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      Defendant has not made any claim of damages but reserves the right to do so

at a later date should the facts established through discovery and the course of

litigation indicate and support such damages.

      (9)    If defendant contends that some other person or legal entity is, in

whole or in part, liable to the plaintiff or defendant in this matter, state the full

name, address, and telephone number of such person or entity and describe in

detail the basis of such liability.

      At this time, Defendant does not contend that any third parties are potentially

liable, but reserves the right to do so at a later date should facts revealed in discovery

indicate that another party may be liable.

      (10) Attach for inspection and copying as under Fed. R. Civ. P. 34 any

insurance agreement under which any person carrying on an insurance

business may be liable to satisfy part or all of a judgment which may be entered

in this action or to indemnify or reimburse for payments to satisfy the

judgment. (Attach copy of insurance agreement to Initial Disclosures as

Attachment E.)

      Defendant does not have any documents that are responsive to Rule

26(a)(1)(A)(iv) at this time.




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      Defendant expressly reserves the right to amend, modify, and/or supplement

the information contained herein.


      Respectfully submitted this 22nd day of July, 2019.


                                    /s/ Ernest H. Kohlmyer, III
                                    Ernest H. Kohlmyer, III
                                    Georgia Bar No. 427760
                                    Florida Bar No.: 0110108
                                    Email: skohlmyer@shepardfirm.com
                                    Shepard, Smith, Kohlmyer & Hand, P.A.
                                    2300 Maitland Center Parkway, Suite 100
                                    Maitland, Florida 32751
                                    Telephone: (407) 622-1772
                                    Attorneys for Defendant, Hayt, Hayt &
                                    Landau, P.L.




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                                 ATTACHMENT A

      Defendant's initial disclosure of the identities of potential witnesses is based

solely upon such information that Defendant has been able to discover thus far in the

amount of time available, as well as Defendant's present analysis of the case, and

shall not, in any way, be deemed to be a representation that additional witnesses do

not exist. Accordingly, this disclosure is subject to Defendant's ability to discover

additional individuals with knowledge of facts concerning the material allegations

of Plaintiff's Complaint, or any of the defenses asserted by Defendant.

      1.      Lewis Lake
              c/o Clifford Carlson, Esq.
              Cliff Carlson Law, P.C.
              1114-C1 Highway 96 #347
              Kathleen, Georgia 31047
              Phone: 478-254-1018
              Email: cc@cliffcarlsonlaw.com

              Lewis Lake
              c/o Ronald Edward Daniels, Esq.
              P.O. BOX 4939
              Eastman, GA 31023
              Phone: 478.227.7331
              Email: ron@dlawllc.com
              rondanielslaw.com


           Plaintiff is believed to possess information relating to Defendant's defenses

   and the claims in Plaintiff's Complaint.

      2.      Representative(s) from Hayt, Hayt & Landau, P.L.

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             Ernest H. Kohlmyer, III, Esq.
             Shepard, Smith, Kohlmyer & Hand, P.A.
             2300 Maitland Center Parkway, Suite 100
             Maitland, FL 32751
             Phone: (407) 622-1772/Fax: (407) 622-1884
             Email: skohlmyer@shepardfirm.com


      One or more representatives of Hayt, Hayt & Landau, P.L. may have

knowledge about Plaintiff's account, as well as the allegations raised in Plaintiff's

Complaint and the defenses asserted by Defendant.

      3.     One or more representatives of Eltman Law, P.C.
             Unknown

      One or more representatives of Eltman Law, P.C. may have knowledge about

the allegations raised in Plaintiff's Complaint and the defenses asserted by Defendant

regarding the debt collection.

      4.     One or more representatives of the original creditor
             Unknown

       One or more representatives of the original creditor that may have knowledge

regarding the subject account.

      5.     Any individual identified by any other party.

      6.     In addition to any of the foregoing individuals, Defendant may retain

one or more experts testify on various aspects of the subject account.




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      Identification of any person does not constitute a representation that such

person has information that is non-privileged, nor does it constitute a waiver of any

privilege or objection that may be made to such witness's testimony. Defendant

reserves the right to rely on additional witnesses not disclosed herein that may be

identified at a later date, as discovery has just begun in this matter and Defendant

has yet to complete its investigation into Plaintiff's allegations.




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                                 ATTACHMENT C

      Defendant's document description is based solely upon such information and

documents that Defendant has been able to discover thus far in the amount of time

available, as well as Defendant's present analysis of the case, and shall not in any

way be deemed to be a representation that additional documents do not exist.

Defendant's investigation of the facts and circumstances surrounding the case is

ongoing, and Defendant reserves the right to use additional documents not disclosed

herein that may be discovered at a later date in its defense of this matter.

      Notwithstanding the foregoing, and pursuant to the provisions of Fed. R. Civ.

P. 26(a)(1)(A)(ii), Defendant identifies the following electronically stored categories

of documents, data compilations and tangible things that may be relevant to disputed

facts and which are held by Defendant:

          1. E-Mails to/from Plaintiff, if they exist;

          2. Letters to/from Plaintiff, if they exist;

          3. Defendant anticipates that Plaintiff may also have documents, records,

data and things that may be relevant to disputed facts.

      Defendant may identify additional categories of documents, data

compilations, and other tangible things through discovery and continued




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investigation. Defendant specifically reserves the right to offer exhibits at trial that

do not fall within the above listed category.




                        CERTIFICATION OF COUNSEL



      I   hereby    certify   that   the   foregoing    DEFENDANT'S          INITIAL

DISCLOSURES has been prepared with Times New Roman, 14 point font, one of

the fonts and point selections approved by the Court in LR 5.1C.

                                       /s/ Ernest H. Kohlmyer, III
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                                       Attorneys for Defendant, Hayt, Hayt &
                                       Landau, P.L




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                        CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a copy of the foregoing has been electronically

filed on July 22, 2019 via the Court Clerk’s CM/ECF system which will provide

notice to the following: Clifford Carlson, Esquire of Cliff Carlson Law, P.C. at

cc@cliffcarlsonlaw.com and Ronald Edward Daniels, Esquire of Daniels Law LLC

at ron@dlawllc.com (Attorneys for Plaintiff). I further certify that on the

aforementioned date, I served the foregoing document to the following counsel of

record via e-mail: Clifford Carlson, Esquire of Cliff Carlson Law, P.C. at

cc@cliffcarlsonlaw.com and Ronald Edward Daniels, Esquire of Daniels Law LLC

at ron@dlawllc.com (Attorneys for Plaintiff).


                                    /s/ Ernest H. Kohlmyer, III
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